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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

WITOLD BAGINSKI,
                                                  CASE NO: 2:17-cv-05320 (JLL) (JAD)
                      Plaintiff,

V.
                                                                Civil Action
BOROUGH OF WALLINGTON;
EUGENIUSZ RACHELSKI, individually                     NOTICE OF APPEARANCE
and in his official capacity as Councilman;
KHALDOUN ANDROWIS individually and
in his official capacity as Councilman;
MELISSA DABAL, individually and in her
official capacity as Councilwoman; BRYAN
OLKOWSKI, individually and in his official
capacity as Councilman; VICTOR POLCE,
individually and in his official capacity as
Borough Administrator, XYZ CORP. INC.
(1— 10); JOHN DOES (1-10) AND JANE
DOES (1- 10),

                      Defendants


To:    William T. Walsh, Clerk of Court and all parties of record

       I am admitted to practice before this court, and I appear in this case as co-counsel for the

Defendant, Borough of Wallington.


                                     /s/ Leonard E. Seaman
                                     Leonard E. Seaman (LS-4799)
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DATED: March 21, 2019
